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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)
                                                    1
                                         Debtors.               (Jointly Administered)


                          NOTICE OF AGENDA OF MATTERS
               SCHEDULED FOR HEARING ON JULY 31, 2023 AT 11:00 A.M. (ET)




 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 650 Liberty Avenue, Union, New Jersey 07083.



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     I.        MATTERS GOING FORWARD

          1. Sale Hearing with Respect to Phase I and Phase 2 Leases

                 A. Related Documents

                        •   Order (I) Approving the Auction and Bidding Procedures, (II)
                            Approving Stalking Horse Bid Protections, (III) Scheduling Bid
                            Deadlines and an Auction, (IV) Approving the Form and Manner of
                            Notice Thereof, and (V) Granting Related Relief [Docket No. 92]

                        •   Order (I) Establishing Procedures to Sell Certain Leases,
                            (II) Approving the Sale of Certain Leases, and (III) Granting Related
                            Relief [Docket No. 422]

                        •   Notice of Lease Auction and Potential Lease Sale Hearing [Docket No.
                            456]

                        •   Notice to Contract Parties to Potentially Assumed Executory Contracts
                            and Unexpired Leases [Docket No. 714]

                        •   Notice of Amendment of Dates and Deadlines Related to the Debtors’
                            Bidding Procedures [Docket No. 771]

                        •   Notice of Phase 1 Lease Auction, Qualified Bids, Lease Sale Hearing,
                            and Related Lease Asset Information [Docket No. 905]

                        •   Supplemental Notice of Phase 1 Lease Auction, Qualified Bids, Lease
                            Sale Hearing, and Related Lease Asset Information [Docket No. 964]

                        •   Notice of Successful and Backup Bidder with Respect to the Phase 1
                            Auction of Certain of the Debtors’ Lease Assets and Assumption and
                            Assignment of Certain Unexpired Leases [Docket No. 1114]

                        •   Notice of Assumption of Certain Unexpired Leases [Docket No. 1157]

                        •   Notice of (I) Phase 2 Lease Auction and Potential Lease Sale Hearing
                            and (II) Extension of Dates and Deadlines Related Thereto [Docket
                            No. 1162]

                        •   Notice of Extension of Debtors’ Deadline to Reply to Assumption
                            Objections [Docket No. 1353]

                        •   Supplemental Notice of Phase 2 Lease Auction, Qualified Bids, Lease
                            Sale Hearing, and Related Lease Asset Information [Docket No. 1392]

                        •   Notice of Uncontested Matters Proceeding on July 18, 2023 [Docket
                            No. 1394]


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                         •   Notice of Successful and Backup Bidder with Respect to the Phase 2
                             Auction of Certain of the Debtors’ Lease Assets and Assumption and
                             Assignment of Certain Unexpired Leases [Docket No. 1428]

                         •   Amended Notice Cancellation of Hearing Scheduled for July 24, 2023
                             at 10:00 A.M. (ET) and Rescheduled Hearing on July 28, 2023 at 10:00
                             A.M. (ET) [Docket No. 1444]

                         •   Notice of Matters Scheduled for Hearing on July 28, 2023 at 10:00
                             A.M. (ET) [Docket No. 1582]

                         •   Notice of Matters Scheduled for Hearing on July 31, 2023 at 11:00
                             A.M. (ET) [Docket No. ____]

                 B. Responses/Objections

                         •   Objection of Enid Two, LLC to Debtors’ Proposed Cure Amount;
                             Adequate Assurance Objection; Joinder and Reservation of Rights
                             [Docket No. 996]

                         •   Amended Objection of Enid Two, LLC to Debtors’ Proposed Cure
                             amount; Adequate Assurance Objection; Joinder and Reservation of
                             Rights [Docket No. 1096]

                         •   Objection of CTC Phase II, LLC to Debtors' Notice to Contract Parties
                             to Potentially Assumed Executory Contracts and Unexpired Leases
                             [Docket No. 1188]

                         •   Objection to Assignment of BVCV Lease to Golf & Tennis Pro Shop,
                             Inc., and to Proposed Cure Amounts [Response to Docket No. 1157]
                             [Docket No. 1240]

                         •   Objection to Assignment of Telegraph Marketplace Partners II LLC’s
                             Lease to Burlington Coat Factory Warehouse Corporation, and
                             Objection to Cure Amounts [Response to Docket No. 1157] [Docket
                             No. 1293]

                         •   Second Amended Objection of Enid Two, LLC to Debtors’ Proposed
                             Cure Amount; Adequate Assurance Objection; Joinder and
                             Reservation of Rights [Docket No. 1364]

                         •   Supplemental Letter Objection of Enid Two, LLC to Debtors’
                             Proposed Cure Amount; Adequate Assurance Objection; Joinder and
                             Reservation of Rights [Docket No. 1509]

                         •   Reservation of Rights by BVCV Union Plaza, LLC to Notice of (I)
                             Phase 2 Lease Auction and Potential Lease Sale Hearing and (II)


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                             Extension of Dates and Deadlines Related Thereto [Response to
                             Docket No.1162] [Docket No. 1512]

                         •   Limited Objection of Edison BRMA002 LLC to Motion for Order
                             Authorizing Debtors to Assume and Assign Lease for Store No. 3060
                             (Braintree II) [Docket No. 1518]

                         •   Objection of CVSC, LLC, Congressional Plaza Associates, LLC,
                             Federal Realty OP LP, and UE 675 Route 1 LLC to (I) Notice to
                             Contract Parties to Potentially Assumed Executory Contracts and
                             Unexpired Leases and (II) Notice of Successful and Backup Bidder
                             With Respect to the Phase 2 Auction of Certain of the Debtors’ Lease
                             Assets and Assumption and Assignment of Certain Unexpired Leases
                             [Docket No. 1523]

               Status:   This matter is going forward with permission of the Court.

          2. Motion to Confirm Absence of Automatic Stay [Docket No. 495]

                 A. Related Documents

                         •   Declaration of Eileen Higgins, in Support of Motion to Confirm
                             Absence of Automatic Stay [Docket No. 495-4]

                         •   Notice of Hearing [Docket No. 1185]

                         •   Adjournment Request [Docket No. 1230]

                         •   Reply in Support of Motion to Confirm Absence of Automatic Stay
                             [Docket No. 1454]

                 B. Responses/Objections

                         •   Objection to Motion to Confirm Absence of Stay [Docket No. 1371]

               Status: The Debtors are withdrawing their objection.




                             [Remainder of Page Intentionally Left Blank]




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Dated: July 30, 2023
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